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                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF WEST VIRGINIA

  UNITED STATES OF AMERICA ex rel.
  JOSEPH SEIKEL and TERENCE SEIKEL,

         Plaintiffs,

  v.                                                Civil Action No. 1:23-cv-00001
                                                    Honorable Thomas S. Kleeh
  DAVID B. ALVAREZ; APPLIED
  CONSTRUCTION SOLUTIONS, INC.;
  ENERGY TRANSPORTATION, LLC;
  ENERGY RESOURCE GROUP, LLC;
  ET360, LLC;; JASON P. HENDERSON; and
  JOHN DOES NOS. 1-50, FICTITIOUS
  NAMES;

         Defendants.

             STIPULATION EXTENDING CERTAIN DISCOVERY DEADLINES
         Pursuant to Northern District of West Virginia Local Rule of Civil Procedure 16.01(f)(2),

 the parties stipulate that their expert disclosure deadlines and the completion of discovery shall be

 extended. This Court’s scheduling order set expert disclosure deadlines on October 27, 2023. The

 parties’ stipulation filed October 27, 2023 (ECF No. 125) extended that deadline to November 27,

 2023. Similarly, the Court’s scheduling order set the deadline to complete discovery on December

 22, 2023. The parties had stipulated that the new deadline to complete discovery would be January

 22, 2024.

         The parties now stipulate to extend the expert disclosure deadline to January 26, 2024 and

 the deadline to complete discovery to February 23, 2024. The newly stipulated dates do not affect

 the July 15, 2024 trial date in this matter.

 Dated: November 20, 2023
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